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Mensaje del Presidente
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Mensaje del Presidente

Mfliacion
Apreciados Amigos del Mundo Glubes y Armerias :
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| La Federacion de |1fo de Armas Cortas y Rifles de Puerto Rico es una afiliada y tundadora de! Comité Olimpico de Puerto Kico y es miembro activo de la Federacion Intemaconal de |1ro. Nuestra matricula cuenta con unas /9,000
familias miembros y unos 28 clubes en toda la isla de Puerto Rico. Te damos las gracias por accesar a nuestra pagina Constitucion 8
Esperamos que distrutes de la misma. EI Deporte de liro al blanco es uno que se practica toda la vida, pues como nuestro instrumento deportivo son las armas, tenemos que culdarlas, respetarlas y protegerias todos los dias. Los
deportistas del tio ven en las armas un instrumento deportivo que se comprueba en nuestro historial, pues no existe ningun dato que indique violencia, somos emigos de la Paz eae
En Puerto Rico hemos logrado una ley de armas justa para todas las partes, la misma fue el producto de los ciudadanos particulares, deportistas del tira al blanco y el gobierno. Cada ciudadano que obtiene un arma legal en Puerto Rico
tiene que aprober un curso de uso y manejo de armas que lo ofrecen los instructores certificados por la Federacién y los clubes de tiro. Apreciados Amigos del Mundo

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También tenemes una escuela que mientras los jévenes estudian del 7mo. al 12mo grado practican deportes y en el caso nuestro, la préctica es en armas neumaticas
Para mayor informacion puedes comunicarte via Intemet a: fliropur@coqui.net o a los teléfonos (787) 722-7474 | Fax. (787) 725-2503.

Cordialmente,

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Agrim. Reinaldo Irizarry Rodriguez
PRESIDENTE

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